       Case 3:16-cr-01553-AJB               Document 41            Filed 11/22/16            PageID.121                Page 1 of 2
AO 245B (CASDRev. 08/13) Judgment in a Criminal Case


                                   United States District Court                                                            hED
                                        SOUTHERN DISTRICT OF CALIFORNIA                                                16 NOV 22* PM & l ?
            UNITED STATES OF AMERICA
                       V.
          RAMON BECERRA-BALTAZAR (02)                                                                          (? V;
                                                                                                                                         m
                                                                       Case Number:         16CR1553-AJB

                                                                    Morgan D. Stewart FD
                                                                    Defendant’s Attorney
REGISTRATION NO.                 21165408

□-
THE DEFENDANT:
IE1 pleaded guilty to count(s)      Two of the Information

□ was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                           Count
Title & Section                   Nature of Offense                                                                       Numberfs)
8 USC 1326(a)and(b)               Attempted Reentry of Removed Alien                                                          2




    The defendant is sentenced as provided in pages 2 through     __          2            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on count(s)
□ Count(s)                                                    is          dismissed on the motion of the United States.

      Assessment: $100.00 - Remitted
13

 13 No fine                □ Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant’s economic circumstances.

                                                                    November 15. 2'
                                                                     rate|f Imposition®! Sentence


                                                                   HON. ANTHONY J. BATTAGUffl
                                                                   UNITED STATES DISTRIC&TUDGE




                                                                                                                          16CR1553-AJB
      Case 3:16-cr-01553-AJB              Document 41       Filed 11/22/16       PageID.122        Page 2 of 2
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DEFENDANT:                RAMON BECERRA-BALTAZAR (02)                                              Judgment - Page 2 of 2
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                                                IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 ONE (1) MONTH




       Sentence imposed pursuant to Title 8 USC Section 1326(b).
 □     The court makes the following recommendations to the Bureau of Prisons:
 □



       The defendant is remanded to the custody of the United States Marshal.
 □
       The defendant shall surrender to the United States Marshal for this district:
 □
       □ . at                               A.M.              on
       □     as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 □     Prisons:
       □    on or before
       □     as notified by the United States Marshal.
       □     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on                                            to

 at                                        , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                     DEPUTY UNITED STATES MARSHAL



                                                                                                        16CR1553-AJB
